Case 1:21-cr-00537-TJK Document 69 Filed 12/15/21 Page 1 of 6

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-537
V. : MAGISTRATE NO. 21-MJ-188
D-1 RYAN SAMSEL :
D-2 JAMES TATE GRANT : VIOLATIONS:
: 18U.S.C. § 231(a)(3)
Defendants. : (Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b), 2
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon and Inflicting Bodily Injury)
18 U.S.C. § 111(a)(1) (Assaulting,
Resisting, or Impeding an Officer)

18 U.S.C. §§ 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(F), 2

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F), 2

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F), 2

(Act of Physical Violence in the Capitol)
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(C) (Entered Senate
Offices in Capitol Building)

40 U.S.C. § 5104(e)(2)(G) (Picketed in
Capito] Building)

18 U.S.C. §§ 1512(¢)(2), 2

(Obstruction of an Official Proceeding)
Case 1:21-cr-00537-TJK Document 69 Filed 12/15/21 Page 2 of 6

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL and
JAMES TATE GRANT, committed and attempted to commit an act to obstruct, impede, and
interfere with law enforcement officers, that is, Officer C.E. and Officer D.C., officers from the
United States Capitol Police Department, lawfully engaged in the lawful performance of their
official duties incident to and during the commission of a civil disorder, which in any way and
degree obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is Officers from the United States Capitol Police guarding the lower West Terrace,
lawfully engaged in the lawful performance of their official duties incident to and during the
commission of a civil disorder, which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL and

JAMES TATE GRANT, using a deadly or dangerous weapon, that is, a metal crowd control
Case 1:21-cr-00537-TJK Document 69 Filed 12/15/21 Page 3 of 6

barrier, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, Officer C.E., an officer from the United States Capitol
Police, while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involved physical contact with the victim and the

intent to commit another felony, and where the acts inflicted bodily injury on Officer C.E.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury, and Aiding and Abetting, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b) and 2)

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), while such officer or employee was engaged in and on account of the
performance of official duties, that is, an officer from the United States Capitol Police guarding
the lower West Terrace, and where the acts in violation of this section involved physical contact

with the officer and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Sections 111(a)(1))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, RYAN SAMSEL and JAMES
TATE GRANT, did knowingly engage in any act of physical violence against any person and

property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

3
Case 1:21-cr-00537-TJK Document 69 Filed 12/15/21 Page 4 of 6

restricted area within the United States Capitol and its grounds, where the Vice President was
temporarily visiting.

(Entering and Engaging in Physical Violence in a Restricted Building or Grounds, in
violation of Title 18, United States Code, Sections 1752(a)(1) and (a)(4))

COUNT SIX

On or about January 6, 2021, in the District of Columbia, RYAN SAMSEL and JAMES
TATE GRANT, willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings and Aiding and
Abetting, in violation of Title 40, United States Code, Section 5104(e)(2)(F) and 2)
COUNT SEVEN

On or about January 6, 2021, within the District of Columbia and elsewhere, RYAN
SAMSEL and JAMES TATE GRANT, attempted to, and did, corruptly obstruct, influence, and
impede an official proceeding, that is, a proceeding before Congress, specifically, Congress’s
certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution
of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title

18, United States Code, Sections 1512(c)(2) and 2)

COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, JAMES TATE GRANT,
willfully and knowingly, and with the intent to disrupt the orderly conduct of official business,
entered and remained in a room in any of the Capitol Buildings set aside and designated for the
use of either House of Congress and a Member, committee, officer, and employee of Congress,

and either House of Congress, and the Library of Congress, without authorization to do so.
Case 1:21-cr-00537-TJK Document 69 Filed 12/15/21 Page 5 of 6

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C))

COUNT NINE
On or about January 6, 2021, in the District of Columbia, JAMES TATE GRANT,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))
Case 1:21-cr-00537-TJK Document 69 Filed 12/15/21 Page 6 of 6

COUNT TEN

On or about January 6, 2021, within the District of Columbia, RYAN SAMSEL and
JAMES TATE GRANT, using a deadly or dangerous weapon, that is, a metal crowd control
barrier, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, Officer D.C., an officer from the United States Capitol
Police, while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involved physical contact with the victim and the

intent to commit another felony, and where the acts inflicted bodily injury on Officer D.C.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon,
Inflicting Bodily Injury, and Aiding and Abetting, in violation of Title 18, United States
Code, Sections 111(a)(1) and (b) and 2)

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
